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                   Exhibit B
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                                                                       April 13, 2018


Via Email
tom@henzecookmurphy.com
janey@henzecookmurphy.com

Tom Henze
Janey Henze Cook
Henze Cook Murphy PLLC
4645 North 32nd Street, Suite 150
Phoenix, AZ 85018


Dear Mr. Henze and Ms. Henze Cook,

I respectfully request that you and your firm comply with the Arizona Rules of
Professional Conduct as they relate to your duties to former clients.1

Now that I have entered guilty pleas in the federal and California matters related to
Backpage, I believe an incurable conflict has now arisen as between me and each of
the defendants in federal Case No. 2:18-cr-00422-SPL (D. Ariz.) and California Superior
Court Case No. 16FE024013. This includes a direct, incurable conflict between me and
Mr. Larkin and Mr. Lacey.

To the extent that you may assert that I have waived the protections afforded to me as a
former client of your firm, I do not agree. As stated in my letter to your firm dated April 6,
2018, I have withdrawn any prior waiver that may have existed regarding conflicts of
interest. I further believe that any prior informed consent would no longer be valid, as
the issuance of a federal indictment in this matter has materially changed the facts and
circumstances surrounding any such consent.


                                                                       Sincerely,


                                                                       Carl Ferrer


CC:     Nanci Clarence, Jonathan Baum

1
 See Rule of Professional Conduct 1.9(a) (“A lawyer who has formerly represented a client in a matter shall not
thereafter represent another person in the same or a substantially related matter in which that person’s interests
are materially adverse to the interests of the former client unless the former client gives informed consent,
confirmed in writing.”).
